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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
JOHN P. “JACK” FLYNN Case: 1:21-cv-02587-GHW-SLC
LESLIE A. FLYNN, :
Hon. Sarah L. Cave
Plaintiffs,
: [PROPOSED] ORDER FOR
- against - : ADMISSION PRO HAC VICE
CABLE NEWS NETWORK, INC.,
Defendant. x

The Motion of Sam F. Cate-Gumpert for admission to practice pro hac vice in the above-
caption action is granted.
Applicant has declared that he is a member of good standing of the Bar of the State of
California, and that his contact information is as follows:
Sam F. Cate-Gumpert
DAVIS WRIGHT TREMAINE LLP
865 S. Figueroa Street, Suite 2400
Los Angeles, CA 90017
Tel: (213) 633-6800
SamCateGumpert@dwt.com
Applicant having requested admission pro hac vice to appear for all purposes as counsel
for defendant Cable News Network, Inc. in the above-captioned action;
IT IS HEREBY ORDERED that applicant is admitted to practice pro hac vice in the
United States District Court for the Southern District of New York in the above-captioned

matter. All attorneys appearing before this court are subject to the local rules of this court,

including the rules governing the discipline of attorneys.

Dated: July _, 2021

SARAH L. CAVE
UNITED STATES DISTRICT JUDGE

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